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EXHIBIT A

|n the

ClRCU|T COURT

fSt. Louis County, Missouri

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For Fi|e Stamp Only

 

P|aintiff(s) Date /

VS.

MMM _ w FH_ED

 

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Defendant(s Division‘ L J
FEB 01 2013
clvlL oRDER/MEMO JOAN Ml G,LMER
, . CIRCUchLEHK,ST.LOUlS county
l:] Comes now, ,
an enters his/her appearance on behalf of Plaintiff/Defendant.
Cause continue to MO\/\m FQ/`H/` at 6 @m.
for Plaintiff |:\ Defendant \:| Consent l:| Service or Dismissal
for I:] Tria| \:\ Length of Tria| hours/days l:| Ca|| Docket

Party setting cause for trial responsible for notifying opposing party(ies).

|:| Defendant appears in person and voluntarily enters his/her appearance
|:| Plaintiff/Defendant requests a Change of Judge.
|:| Plaintiff/Defendant requests a Change of Venue.

|____I Plaintiff/Defendant requests a Jury Trial.
\:| P|aintiff and Defendant Waive Jury Trial.

I:] Other:

 

 

JUDGMENT

|:] Cause dismissed With/Without prejudice at Plaintiif’s costs.
|:| Cause called. Parties fail to appear. Cause dismissed With/Without prejudice for_ failure to“prosecute.
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_ _ _ Phone No. Fax No.
Judge/Dlvlsion
Attorney Bar No.
Date Address
Phone No. Fax No.

CCACSSa Rev. 12/02 WH|TE - F-`ile YELLOW - P|aintiff's Attorney PINK - Defendant's Attorney GOLDENROD - Other

Case: 4:13-Cv-OO378-HEA Doo. #: 1-1 Filed: 02/28/13 Page: 3 of 13 Page|D #: 7
IN THE ZIST JUDICIAL CIRCUIT COURT, ST. LOUIS COUi\ fY, MISSOU,RI

 

 

Judge or Division: Case Number: 13SL-AC00152

 

IUDY PREDDY DRAPER
Plaintiff/P etitioner: Plaintift’ s/Petitioner’ s Attorney/Address:
BRANDI AKERS JAMES WINDSOR EASON

EASON & VOYTAS, LLC

ONE NORTH TAYLOR AVE.

ST. LOUIS, MO 63108
vs. (314) 932-1066

 

 

 

 

Defendant/Respondent: Date, Tirne and Location of Court Appearance:
MEDICREDIT INC 05-FEB-2013, 09:00 AM
, DIVISION 41T
Nat“re °f S“m sT LOUIS COUNTY COURT BUILDING
AC Other T°rt 7900 CARONDELET AvE
CLAYTON, MO 63105 tutin- File salem

 

Associate Division Summons

The State of Missouri to: N[EDICREDIT INC
Alias:

 

221 BOLIVAR

CSC LAWYERS INCORPORATING
SERVICE CO - SRV

.IEFFERSON CITY, MO 65101

You are summoned to appear before this court on the date, time, and location above to answer the attached petition.
COURTSEAL OF If you fail to do so, judgment by default will be taken against you for the relief demanded in the petition. You may be
permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you have any questions regarding
responsive pleadings in this case, you should consult an attorney
lf you have a disability requiring special assistance for your court appearance, please contact the court at least 48
hours in advance of scheduled hearing

01072013
ST. LOUIS COUNTY Date

   

Further lnformation: SSM

 

Sherift’s or Server’s Return
Note to serving 0fi`lcer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
appear in court.
I certify that l have served the above summons by: (check one)

l:l delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.

l:l leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with

7 a person of the Defendant’s/Respondent`s family over the age of 15 years.
l:l (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

 

(name ) (title).
I:] other .
Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature ofSheriff or Server
Must be sworn before a notary public if not served by an authorized officer:
( Sea 1) Subscribed and sworn to before me on (date).
My commission expires: __
Date Notary Public
Sheriff’s Fees, if applicable
Summons $
Non Est $
Sherift`s Deputy Salary
Supplemental Surcharge $ 10.00
Mileage $ l miles @ $ . per mile)
Total $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of suits,
see Supreme Court Rule 54.

 

 

 

OSCA (7-99) SMZO (ADSM) For Court Use Only: Document ID# l3-ADSM-279 l of l 517.041 RSMo

Case: 4:13- C-v- -00378- HEA Doo.#:1- 1 Filed: 02/28/13 Page: 4of 13 Page|D#: 8
|n the n l

C|RCU|T COURT

Of St. Louis County, Missouri
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For Fi|e Stamp On|y

 

 

 

 

P|aintiff/Petitioner
vS Case Number
?lm/iw craft zill l
DefendantfRespondent Dlvision |_ _l

REQUEST FOR APPO|NTMENT OF PROCESS SERVER

Comes now , pursuant

l_l‘f iii Requesting Party

 

 

 

to Local Fiu|e 28 and at his/her/its own risk requests the appoint ent of the Circuit |erk of
-' rau/ul mt § bella/l maria/allee l l'_"`lr fit rf"/l
Name ofF'ro_r.:ess Server j l Address
)l( S~l,~llici lttillrilci,k i)/§ AC»,»(( l©
Name of Process Serverl Address or in the A|ternative szh:m
Name of Process Server Address or in the A|ternative Tdaitre

Natural person(s ) of lawful age to serve the summons and petition in this cause on the below
named parties. This appointment as special process server does not include the authorization
to carry a concealed weapon in the performance thereof.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Name Name
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Appointed as requested:
JOAN M. GlLMER, Circuit C|erk -~ " `
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Date l ‘l' Phone No. Fax No.

‘ CCADM62 Rev. 03/06 WH|TE - Fi|e

YELLOW-Specia| Process Server P|NK - Attorney/Petitioner

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CSC Lawyers incorporating Service Co. )

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221 Bo|ivar

Jefferson City, MO 65101 JURY TR|AL DEMANDED

PET|T|ON
CO|V|ES NOW, P|aintiffs, and for their Petition state as follows:
|NTRODUCTION
1. This is an action for statutory damages brought by individual consumers for
violations of the Fair Debt Co|lections Practices Act, 15 USC 1692 et. Seq. (“FDCPA”)l Which
prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.
2. This is an action for statutory damages brought by individual consumers for

violations of the Te|ephone Consumer Protection Act of 1991("TCPA"), 47 USC 227 et. seq.

3. This is an action for tortious intrusion upon seclusion.
4. P|aintiffs demand a trial by jury on all issues so triab|e.
M§M
5. This Court has jurisdiction of all claims because Defendant’s tortious conduct

Was directed at P|aintiffs in St. Louis County, Missouri as described more fully herein.
6. Venue is appropriate because Defendant’s tortious communications Were
directed at P|aintiffs in St. Louis County, Missouri and because Defendant’s office is located in

St. Louis County, Missouri.

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PART|ES

7. P|aintiffs are natural persons, husband and wife, currently residing in St. Louis
County, Missouri. P|aintiffs are “consumers” within the meaning of the FDCPA and TCPA. The
alleged debt P|aintiffs owe arises out of consumer, fami|y, and household transactions

8. Specificaily, P|aintiffs believes the alleged debt arises out of medical services
that Brandi Akers received from Barnes Hospital in St. Louis, |\/lissouril

9. Defendant is a Missouri corporation. At ali times reievant, Defendant
communicated With P|aintiff from its office in St. Louis, Missouri, including sending its collection
letter from that office.- The principal business purpose of Defendant is the collection of debts in
Missouri and nationwide, and Defendant regularly attempts to collect debts alleged to be due
another.

10. 1 Defendant is engaged in the collection of debts from consumers using the mail
and teiephone. Defendant is a “debt collector" as defined by the FDCPA. 15 USC 1692a (6).

_FA£§

:11. Defendant’s collection activity of which P|aintiffs complain occurred Within the
past twelve (12) months.

12. Defendant’s collection activity includes numerous calls to P|aintiffs’ cellular
telephones and several collections letters.

' 13. On or about May 1, 2012, P|aintiffs received a collection letter from Defendant.
1"4.` '~lDefendant’s letter stated that P|aintiffs owed more than $5,000 for a hospital bill.
15. At approximately the same time, Defendant began a campaign of placing a large

volume of calls to each Piaintiff’s cellular phone in addition to Plaintiff Brandi Akers’ place of

employment

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16. When Defendant calls P|aintiff Brandi Akers’ place of employment, it calls the
“general” number and often speaks With P|aintiff’s fellow employees

17. Upon information and belief, Defendant asks these employees to summon
P|aintiff Brandi Akers and makes it known that it is collecting a debt.

18. Defendant has no legitimate reason to call third parties at P|aintiff Brandi Akers’
place of employment, as Defendant has other phone numbers for P|aintiff in addition to her
mailing address.

19. Defendant calls P|aintiff Brandi Akers at Work to harass and intimidate her.

20. f Defendant typically called P|aintiffs in “clusters" and often called P|aintiffs multiple
times each day at all hours of the day.

21. Piaintiffsknew the amount Defendant Was trying to collect Was incorrectl as they
had been Working With the Hospital to reduce the bill to the correct amount.

2122. *'*On at least one occasion after May 1, 2012, P|aintiffs communicated With
» Defendant and told Defendant that the amount of the alleged debt Was incorrect

23. Defendant’s calls did not abate or become any less frequent

24. Eventually, by the fall of 2012, P|aintiffs had resolved the dispute about the
balance due. Defendant at some point conceded that the actual balance Was approximately
$1,000.

25. in approximately October of 2012, P|aintiff promised to pay $50 per month on the
debt and Defendant promised to stop the phone calls and other collection activity.

a 26: P|aintiffs did in fact make the $50 payment in October, but Defendant’s calls did
not abate or become any less frequent, and Defendant continued to call P|aintiff Brandi Akers’
employer.

27. in mid-November of 2012, P|aintiff Benjamin Akers called Defendant

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28. in this November phone cali, P|aintiff Benjamin Akers verified that Defendant Was
calling his Wife’s employerl and that Defendant was calling both P|aintiffs’ cellular phones.

29. in this November phone cali, P|aintiff Benjamin Akers explained that these tactics
were upsetting and informed Defendant that it must stop calling the cell phones and the Work
number.

30. |n this November phone cali, Defendant promised to stop the calls and told
P|aintiff, “lf you ask us to stop, We have to stop."

31. Defendant lied to P|aintiff about stopping the cails.

s "ff32. Thereafter, Defendant’s calls to P|aintiffs continued to P|aintiff’s cellular phones,
even though it had actual knowledge that those calls were distressing, inconvenient and
expensive for P|aintiffs.

33. Within the three or four Weeks after the November phone calll Defendant called
P|aintiffsl to the best of their recollection, more than twenty times.

l 34. in this November phone cali, P|aintiff Benjamin Akers Wanted to know if
Defendant Was going to garnish P|aintiffs, Defendant respondedl “That is possible.”

35. Defendant’s statement Was a falsehood designed to pressure P|aintiffs into
paying the debt.

36. Defendant had no judgment against P|aintiffs, no authority to sue P|aintiffs, and
no ability to garnish P|aintiffs.

37. Defendant’s behavior has been reckless, Wanton, and Willful.

38. Defendant has deliberately engaged in outrageous behavior to harass and
intimidate P|aintiff.

, 39. Defendant’s phone calls for P|aintiffs Were placed from Defendant’s automatic
l telephone dia|ing system, as defined by 47 U.S.C. § 227(a)(1)l from the phone number that is

registered to the Defendant.

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40. Specifically, Defendant’s dialing system has the capacity to store, dial, and
generate phone numbers such as P|aintiffs’.

41. Those phone calls Were made to P|aintiffs’ cellular phones and he Was charged
for those phone calls

42. Defendant’s phone calls to P|aintiffs Were made While P|aintiffs Were either at
home or at Work.

43. P|aintiffs never entered into any agreement whereby either one of them provided
express consent for Defendant to place calls to his cellular phone with Defendant’s automatic
telephone dialing system.

44. Even if P|aintiffs had somehow provided such prior express consent to
Defendant, it was Withdrawn and destroyed by the November telephone conversation.

451 P|aintiffs never entered into any agreement Whereby they consented to arbitrate
disputes With Defendant.

46. Defendant’s above-described conduct caused P|aintiffs to suffer substantial
actual damages These damages include but are not limited to distress and anxiety at
Defendant’s continued attempts. Defendant’s conduct made P|aintiffs feel that they Were
powerless to enjoy the peace and quiet of their home, and Defendant embarrassed P|aintiff

Brandi Akers at Work.

_____§OUNT i: VlOLAT|ONS OF FAB DEBT COLLECT|ON PRACT|C§S ACT
- '47. P|aintiffs re-allege and incorporates by reference all of the above paragraphs
48. in its attempts to collect the alleged debt from P|aintiffs, Defendant has
committed violations of the FDCPA, 15 USC 1692 et. seq., including, but not limited to, the

foilowing:

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a. Using deceptive, misleading, or unfair means to collect or attempt to collect the
alleged debt, including threatening P|aintiffs With garnishment and calling P|aintiffs incessant|y.
15 U.S.C. § 1692d-f.

b. improperly communicating with third parties about the debt. 15 U.S.C. § 1692b-

c. Continuing to communicate with P|aintiffs after knowing that P|aintiffs no longer
wished to get calls on their cellular phones or at Work. 15 U.S.C. § 1692c-f.

WHEREFORE, P|aintiffs respectfully request that judgment be entered against
Defendant for:

A. Judgment that Defendant’s conduct violated the FDCPA;

B. Actual damages;

C. Release of the alleged debt;

' nD. , Statutory damages costs and reasonable attorney’s fees pursuant to 15 USC
1692(k); and
E. For such other relief as the Court may deem just and proper.
COUNT ||: V|OLATION OF TH|§ TCPA
49. P|aintiffs re-al|ege and incorporate by reference all prior paragraphs
50. in its attempts to collect the alleged debt from P|aintiffs, Defendant has
committed violations'of the TCPA, 47 USC 227 et. seq., including, but not limited to, the

following:

a. By placing non-emergency phone calls to each P|aintiffs cellular phone Without

express authorized consent of the P|aintiff. 47 U.S.C. § 227(b) (1) (A) (iii).

WHEREFOREl P|aintiffs respectfully request that judgment be entered against
Defendant for:

A. Judgment that Defendant’s conduct violated the TCPA;

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B. Actual damages;
C. Statutory damages pursuant to 47 USC (b)(3); and
D. For such other relief as the Court may deem just and proper.
COUNT |ll: iNTRUS|ON UPON SECLUS|ON
51. P|aintiffs re-allege and incorporate by reference all prior paragraphs
52. Defendant knew, at least after the November, 2012 phone cali, that it did not
have consent to call P|aintiff’s cellular numbers
53. Defendant knew it Was calling P|aintiffs at those numbers
» 545 " Defendant knew that P|aintiffs had a reasonable expectation of privacy from its
repeated telephone calls1 especially after P|aintiffs revoked consent to be contacted by phone.
7 55. Nonetheless, Defendant continued to call and harass P|aintiffs
le 56.' Defendant’s intrusion by telephone contact Was unreasonable or highly offensive
to any reasonable person.
7 57. Defendant’s intrusion caused P|aintiffs to suffer actual damages including
anxietyl sleeplessness, and worry as described above.
WHEREFORE, P|aintiffs respectfully request that judgment be entered against

Defendant for:

A. Judgment that Defendant’s conduct constitutes intrusion upon seclusion;

B. l injunctive relief that Defendant no longer be allowed to call Piaintiff;

C. Actual damages in an amount to be determined at triai;

D.e ¢¢Punitive damages in the largest amount allowable by law,to fully and fairly punish

Defendant; and

E. For such other relief as the Court may deem just and proper.

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EASON & VOYTAS, LLC

jam/ii

JAM'E'S W. EASON, #57112M0

R|CHARD A. VO¥TAS, #52046M0

Eason & Voytas, LLC

One North Tay|or Avenue

Phone: (314) 932-1066

Fax: (314) 667-3161

Emai|: james.w.eason@gmai|.com
rickvoytas@gmail.com

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| certify and attest that the above is a true copy of the original record of the Court in case

number 55('/‘76 00 /5% as it appears on file in my office.

issued

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JOAN M. G|LMER, Circuit C|erk
St. Louis County Circuit Court

BY

 

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